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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________

     REPLY TO CORRECTED RESPONSE [Doc. 99] TO MOTION TO DISMISS [Doc. 69]
                           AND ENJOIN [Doc. 71]

         Roger Stone moved to dismiss or enjoin his prosecution on several grounds. This Reply

addresses the government’s Response, focusing on the point which took up most of the

government’s Response: whether the Special Counsel’s action violated the Appropriations Clause

of the Constitution. See Doc. 99 at 8-32.

I.       The Challenge to the Source of Funds is Meritorious

         The government raises three principal counterarguments:

         First, it claims that although the permanent indefinite appropriation is reserved for an

“independent counsel,” a “special counsel” is functionally close enough to access it. This argument

fails because the record shows conclusively that the terms are materially distinct. DOJ revised its

regulations in 1999 specifically to create special counsels who would be subject to greater

supervision than their independent counsel predecessors.

         Second, the government cites historical practice and Congressional acquiescence as proof

that using the indefinite appropriation was proper. See Doc. 99. The defect in this argument is that



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the funding issue only arises with prosecutors appointed under the revised 1999 regulations. Since

Mr. Mueller is only the second such appointment ever, and the first one to indict anyone, there is

no relevant precedent. There has been no reason to delve into the funding scheme until now. This

is a question of first impression.

       Finally, the government asserts that an injunction is improper because a funding source

error is harmless and cannot taint the current prosecution now that it has been handed off to the

U.S. Attorney’s Office. Doc. 99 at 28-31. This argument is incorrect because, unlike an

Appointments Clause challenge, here DOJ violated laws specifically designed to rein in

overzealous prosecutors. A significant factor in Congress and DOJ letting the Independent Counsel

statute expire was that the absence of resource constraints provided “an impetus to investigate the

most trivial matter to an unwarranted extreme.” 1 Stone’s prosecution for a derivative process crime

is precisely the sort of case that might never have been brought had resource constraints forced

DOJ to prioritize. By improperly drawing on the permanent indefinite appropriation, DOJ was

never forced to choose. This error infected the entire enterprise of the Special Counsel’s Office.

An injunction is both necessary and proper.

       A. The Record is Clear that Special Counsels and Independent Counsels are
          Materially Distinct; The Special Counsel Investigation was Improperly Funded

       Under the plain text of the statute, the permanent indefinite appropriation is reserved for

“independent counsel” appointed pursuant to law. Pub. L. No. 100-202, § 101(a) (Title II), 101

Stat. 1329, 1329-9 (1987) (28 U.S.C. § 591 note). Nevertheless, the government argues that special

counsels may access this fund because they too are appointed from outside the Department to



       1
        Reauthorization of the Independent Counsel Statute, Pt. I, Hearings Before the Subcomm.
on Commercial and Admin. Law of the H. Comm. on the Judiciary, 106th Cong. 71 (1999)
(statement of Eric Holder, Dep. Att’y Gen. of the United States) [hereinafter Statement of Eric
Holder 1999].
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provide an unbiased opinion and generally remain outside the chain of command and day-to-day

supervision of DOJ leadership. In likening the special counsel to the independent counsel, the

government focuses on what unites them. But what is important here is what divides them.

        The record is unambiguous that the special counsel regulations under which Mr. Mueller

was appointed were specifically designed to create a different kind of prosecutor. 2 This prosecutor

was to be more accountable than the old independent counsels in part in response to bipartisan

concerns about the unlimited budget that independent counsels enjoyed.

       In 1999, then-Deputy Attorney General Eric Holder appeared before the House Judiciary

Committee to explain why the Department recommended letting the Independent Counsel statute

lapse. He testified that the law “vests this immense prosecutorial power” in someone who “is not

subject to the same sort of oversight or budgetary constraints that the publically [sic] accountable

Department of Justice faces day in and day out.” See Statement of Eric Holder 1999 at 62. Mr.

Holder emphasized that

       [I]ndependent counsel are largely insulated from any meaningful budget process,
       [and] accountability to superiors. . . . This insulation contributes greatly to the
       independence of these prosecutors, but it also eliminates the incentive to show restraint
       in the exercise of prosecutorial power . . . [These factors] provide an impetus to
       investigate the most trivial matter to an unwarranted extreme.

       Id. Mr. Holder then cited an op-ed written by then-Senators McConnell and Dodd: “The

law gives virtually unchecked power, virtually unlimited budgets and completely distorted

incentives – all to one man or woman whose sole job is to investigate a public official.” Id. at 72.

       Members echoed these concerns at a hearing later that year. Then-Congressman Lindsey

Graham stated, “I agree with everyone's concern that you can't give independent counsels blank



       2
          Dan Huff, Robert Muller Has a Money Problem: Congress’s oversight on how to fund
his office casts doubt on every conviction he wins, Wall Street Journal (March 24, 2019 7:05
p.m.), https://www.wsj.com/articles/robert-mueller-has-a-money-problem-11553468712.
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checks.” Then Subcommittee Ranking Member Jerrold Nadler observed, “I do not think that you

want that much independence in a special prosecutor . . . I think we should rely more on the

political and public checks and balances than on trying to criminalize . . . political disputes.” 3

       In view of this bipartisan consensus, the Independent Counsel law was permitted to lapse.

Instead, DOJ issued regulations creating the Special Prosecutor, a new type of prosecutor who

would be more accountable. For example, the 1999 regulations require that a Special Counsel

consult with the Attorney General before taking particular actions. See 28 C.F.R. § 600.7, U.S.

Gov’t Accountability Office, GAO B-302582, Special Counsel and Permanent Indefinite

Appropriation at 6 (2004). 4

       In the same vein, the D.C. Circuit recently rejected an Appointments Clause challenge to

Special Counsel Mueller, finding he was subordinate to the Attorney General. In re Grand Jury

Investigation, 916 F.3d 1047 (D.C. Cir. 2019). Without delving into the provisions of the revised

1999 regulations, the court noted a major distinction between Mueller and prosecutors appointed

under the prior Independent Counsel statute:

       Unlike the independent counsel in Morrison . . . whose independence and tenure
       protection were secured by [Statute], Special Counsel Mueller is subject to greater
       executive oversight because the limitations on the Attorney General’s oversight and
       removal powers are in regulations that the Attorney General can revise or repeal.

Id. at 1052.




       3
        To Provide for the Appointment by the Att’y Gen. of a Special Counsel When Investigation
or Prosecution of a Person by an Office or Official of the Dept. of Justice May Result in a Personal,
Financial, or Political Conflict of Interest: Hearing on H.R. 2083 Before the Subcomm. on
Commercial and Admin. Law of the H. Comm. on the Judiciary, 106th Cong. (1999) (The hearing
concerned legislation authorizing DOJ to issue regulations that would differ from the version DOJ
promulgated in July 1999. The bill died in Committee.).
       4
           Available at https://www.gao.gov/decisions/appro/302582.pdf.
                                                   4
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               1. The History of the Permanent Appropriation Does Not Support the
                  Government’s Position

        Until 1987, Independent Counsel investigations were funded through the ordinary

appropriations process. Congress established the permanent appropriation in 1987 at a time when

constitutional challenges were pending against the Independent Counsel statute. At that time, and

during previous lapses in the statute, DOJ made appointments under a parallel set of Independent

Counsel regulations. Doc. 99 at 13-14. Since Congress was aware of this, the government contends

it must have contemplated that the term “Independent Counsel” in the 1987 appropriation would

encompass a “broader category” of “attorneys whose formal independence was established only

by regulation.” Doc. 99 at 12.

        The argument fails because the pre-1999 Independent Counsel regulations mirrored the

Independent Counsel statute known as the Ethics Act. They say nothing about the availability of

that appropriation to the materially distinct special counsel role created via revised regulations in

1999.

        Congress enacted the permanent appropriation in 1987 a few months after DOJ

promulgated Independent Counsel regulations. In analyzing those pre-1999 regulations, the D.C.

Circuit stated that they delegated to the independent counsel “authority identical to that provided

to an independent counsel by the Ethics Act.” In re Sealed Case, 829 F.2d 50, 52 (D.C. Cir. 1987).

The regulation “sets forth the same grounds for removal as does the Ethics Act . . . The provisions

of the regulation concerning ‘reporting and congressional oversight’ and ‘relationship with

components of the Department of Justice’ are also virtually identical with parallel provisions in

the Ethics Act.” Id. at 52-53. Accordingly, from the permanent appropriation’s inception through

1999, the term “independent counsel” carried the same defined meaning whether used in statute



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or regulation. Congress thus had no reason to view the term as encompassing a broader category

of attorneys as the government suggests.

                2. The Longstanding Practice DOJ Cites Is Inapplicable Here

       The government contends that DOJ has “repeatedly used the appropriation” to fund other

special counsels appointed under the same statutory authority as Mueller. Doc. 99 at 15. That is

not so. Consider the government’s examples: Robert Fiske, Patrick Fitzgerald and John Danforth.

Doc. 99 at 16-17. Fiske was appointed in 1994 at a time when the Independent Counsel regulations

still mirrored the statute. Doc. 99 at 15-16. Fitzgerald was appointed in 2004, but under different

DOJ authority and not pursuant to the revised 1999 regulations. Doc. 99 at 16. Since the funding

issue only arises under the 1999 regulations neither of those precedents are relevant.

       John Danforth was appointed pursuant to the 1999 regulations. Id. However, he was the

first appointment under this brand-new regulatory scheme. It took him less than a year to issue his

findings, and he did not indict anyone. 5 See U.S. Gov’t Accountability Office, GAO-01-1035

Independent and Special Counsel Expenditures for the Six Months Ended March 31, 2001 at 30.

Thus, there was no occasion for the funding question to come up. The lone example of Mr.

Danforth was simply an oversight, and in any case cannot standing alone establish a pattern of

acquiescence.

       For the very same reasons it proves noting that the Governmental Accountability Office

(GAO) never raised any objections during its required audit of those three investigations. In two

of them, the funding issue does not arise because the prosecutor was not appointed pursuant to the

1999 regulations. In the third, there was no one to press it, so it was overlooked.



       5
         See also Susan Schmidt, Investigation Clears Agents at Waco, The Washington Post
(July 22, 2000), https://www.washingtonpost.com/archive/politics/2000/07/22/investigation-
clears-agents-at-waco/11e8f9f1-1963-4646-8e91-136642f17ec3/.
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               3. The 2004 GAO Analysis In Fact Supports Stone’s Position

       In 2004, the GAO examined whether the permanent indefinite appropriation was available

to pay the expenses of Patrick Fitzgerald, a special prosecutor appointed from within DOJ under

separate authority and not the revised 1999 regulations. See U.S. Gov’t Accountability Office,

GAO B-302582, Special Counsel and Permanent Indefinite Appropriation (2004). For that reason,

as noted above, the fact that GAO allowed payment is irrelevant to this case. However, as part of

its analysis, GAO stated in passing that “we have not objected to the use of the permanent indefinite

appropriation to fund the expenses of regulatory independent counsels appointed from outside the

government.” Id. at 7. The government seizes on this opinion to claim there is a “long history,

cited with approval in the 2004 GAO Opinion, of funding other special counsels from the

permanent appropriation—including Danforth.” Doc. 99 at 19. But there is no “long history.” The

funding issue only arises with a special counsel appointed pursuant to the 1999 regulations. With

the exception of Danforth, no case before GAO ever dealt with that type of special counsel.

       This is underscored by the fact that when GAO stated it had not objected to previous uses

of the permanent appropriation, it cited a 1994 DOJ memo. GAO B-302582 at 7, n. 17. That memo

found that independent counsels appointed pursuant to regulation rather than statute could access

the Independent Counsel appropriation. 6 But that memo is irrelevant today. It is only under the

revised 1999 regulations that the funding issue arises, because those rules replaced the previous

independent counsel structure with the special counsel, a new type of prosecutor specifically

designed to be more accountable than the old independent counsels.




       6
         Memorandum from Stuart Frisch, Dep’t of Justice to Stephen R. Colgate, Availability of
the Independent Counsel Appropriation to Pay Expenses of an Independent Counsel Appointed by
the Attorney General (Jan. 24, 1999).
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       The GAO audit of the Danforth expenditures that the government cites undertook no legal

analysis whatsoever of the funding issue. Doc. 99 at 16, n.11. It simply cited DOJ’s assertion that

the permanent appropriation was available and proceeded to the financial audit required for

expenditures made from that account. Id. The Danforth case does not establish a meaningful

precedent. It represents an oversight.

       Actually, rather than help the government’s case, the 2004 GAO report undermines it.

GAO explained that because “the permanent indefinite appropriation is available for independent

counsels,” it looked for “indicia of independence.” See GAO B-302582 at 6. GAO records that the

Justice Department justified the arrangement because the regulation governing special counsels—

which contains provisions inconsistent with independence—did not apply in that case. Id. at 5-6.

The implication is that the fund would not be available when the regulation did apply:

               Department officials informed us that the express exclusion of Special
               Counsel Fitzgerald from the application of 28 C.F.R. Part 600, which
               contains provisions that might conflict with the notion that the Special
               Counsel in this investigation possesses all the power of the Attorney
               General, contributes to the Special Counsel’s independence.

Id. at 6. By contrast, DOJ specifically made Mr. Mueller subject to the 1999 special counsel

regulations which, by DOJ’s own admission, contain provisions inconsistent with independence. 7

The independent counsel fund is unavailable to fund Mr. Mueller’s investigation.

               4. Contrary to DOJ’s Assertion, There has Been No Congressional
                  Acquiescence

       The government asserts that “Congress itself has been well aware of the Department’s

interpretation of the permanent appropriation and has not sought to correct it.” Doc. 99, at 22. As




       7
         Rod Rosenstein, Dep. Att'y. Gen., Appointment of Special Counsel to Investigate Russian
Interference with the 2016 Presidential Election and Related Matters, Order No. 3915-2017 (May
17, 2017).
                                                8
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proof it points to the numerous GAO reports auditing expenditures from the permanent

appropriation. Again, the funding issue was not present in those cases, because they did not deal

with prosecutors appointed under the 1999 regulations. There was no potential objection for

Congress to waive. The Danforth case is the only one where Congress might have raised the issue,

but it was overlooked presumably for the same reasons GAO missed it. Whatever the reason, one

case does not establish “‘a longstanding administrative interpretation.’” Doc. 99 at 23.

          The government’s second proof of Congressional scienter is that “since 2010 every

President’s budget…has expressly stated that the permanent appropriation covers special

counsels.” Doc. 99 at 21. However, as the government elaborates in a footnote, that budget

statement typically looked as follows: “‘INDEPENDENT COUNSEL: A permanent appropriation

is available to fund independent and special counsel activities (28 U.S.C. 591 note).’” Doc. 99 at

21, n.15. Nothing in that disclosure would alert the reader that the appropriations’ express terms

include only independent counsels and that the expansion to special counsels is the government’s

gloss on the underlying text. Nor is it reasonable to assume that Members of Congress reading a

budget document that is hundreds of pages long would have had the time to cross-reference the

underlying statute and discover the truth. Even if they did, it might not register as a problem unless

they were familiar with the impetus behind the revised 1999 special counsel regulations.

          Similarly, a permanent indefinite appropriation is by definition not part of the annual

appropriations process and so would not figure in regular interbranch discussions of DOJ funding

levels.

          In 2009, Congress removed the requirement that GAO audit payments made from the

permanent appropriation. See Pub. L. No. 111-68 § 1501(d), 123 Stat 2023, 2041. However, this

was not part of a reevaluation of the special counsel’s role or the permanent appropriation. Rather,



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it was simply one of five GAO reporting burdens Congress eliminated in that year’s GAO spending

bill that reduced the burden on the agency. Id.

        In short, Congressional silence is not evidence of acquiescence when Congress does not

even know that there are grounds for objection.

        B. Dismissing or Enjoining the Prosecution are the Only Appropriate Remedies

               1. Stone Has Standing

        The government argues that Stone has no right to relief because he is not within the zone

of interests protected by the appropriations laws in question and their violation did not cause his

injury. Doc. 99 at 23-24.

        In fact, Stone is squarely within the zone of interests protected by barring access to the

Independent Counsel fund. The record demonstrates that both DOJ and Congress regard resource

constraints on special counsels as protecting defendants by keeping investigations focused and

fair.

        Mr. Holder testified that an independent counsel’s insulation from “any meaningful budget

process” provides “an impetus to investigate the most trivial matter to an unwarranted extreme.” 8

Representative Nadler later echoed the point bemoaning an Independent Counsel investigation of

former HUD Secretary Henry Cisneros for false statements. Cisneros was investigated for eight

years at a cost of over 24 million dollars before pleading guilty to a misdemeanor and paying a

fine. 9 Rep. Nadler observed:

        [T]he lack of constraints on the special prosecutor to deal with such a small matter
        as the Cisneros affair. . .The whole thing just seemed out of proportion. . . I




        8
        Statement of Eric Holder 1999 at 62.
        9
        Name Redacted, Cong. Research Serv., 98-19 A, Independent Counsels Appointed
Under the Ethics in Government Act of 1978, Costs and Results of Investigations (2006).
                                                  10
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       suspect without a special prosecutor law most prosecutors would have said de
       minimis non curat lex. You don't deal with it. 10

       DOJ insists there is no causation because, the investigation would have been funded

anyway somehow. Doc. 99 at 23 n.16. This is precisely the argument rejected in Andrade v. Lauer,

729 F.2d 1475 (D.C. Cir. 1984). There terminated federal employees sued arguing that the agency

head had been improperly appointed. See id. The government argued there was no standing absent

a showing that the layoffs would have been carried out differently, had the official been properly

appointed. See id. The court rejected the contention:

       The government's argument here asks precisely the wrong question. The
       causation inquiry cannot be addressed to the question whether the appellants
       would have lost their jobs if the President had appointed and the Senate had
       confirmed [the officials], for the purpose of the Appointments Clause is
       precisely to grant some control over the Executive Branch to Congress, within
       the framework of the system of checks and balances put in place by the
       Constitution. The clause would be a nullity if it could be assumed that these
       very officials would in fact have been properly appointed and (especially)
       confirmed by the Senate.

       Id. at 1496 (emphasis in original). So too here. The point of the Appropriations Clause is

“to grant some control over the Executive Branch to Congress.” Id. Congress would likely still

fund the investigation, but as part of the negotiation it could extract concessions as to scope or

direction.

       Stone also has standing under United States. v, McIntosh, 833 F.3d 1163 (9th Cir. 2016).

That precedent established that defendants may challenge their prosecution if it is being funded

with money that has not been appropriated. See id. While that case involved an outright funding

ban, rather than a source of funds defect, that distinction is not relevant to the court’s holding.




       10
           Special Counsel Act of 1999: Hearing on H.R. 2083 Before the Subcomm. on
Commercial & Admin. Law of the H. Comm. on the Judiciary, 106th Cong. 17 (1999). (statement
of Rep. Jerold Nadler, Member, H. Comm. on the Judiciary).
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       The McIntosh court described the defendants’ complaint broadly to be “that DOJ is

spending funds that have not been appropriated by Congress in violation of the Appropriations

Clause of the Constitution.” Id. at 1174. Similarly, the Court’s decision was not limited to violating

a funding ban. Rather it rested on the broader Constitutional defect of “drawing funds from the

Treasury without authorization by statute” in violation of the Appropriations Clause. Id. at 1175.

“That Clause constitutes a separation-of-powers limitation that Appellants can invoke to challenge

their prosecutions.” Id. The same defect is at play in this case. The DOJ drew funds from the

Treasury without authorization because the permanent appropriation for independent counsels is

not available to fund materially distinct special counsels.

               2. Stone was Prejudiced by DOJ’S Improper Funding

       Even if Stone has standing, the government argues that there was no prejudice for two

reasons. First, the government offers the breezy assurance that “the Department would have funded

the Special Counsel’s investigation from other appropriations that were available.” Doc. 99 at 26.

The broader investigation may well have been funded, but that does not mean the special counsel

would have felt free to expend resources pursuing Stone. That would have required DOJ to

prioritize the Stone prosecution over other law enforcement efforts. It is not at all clear that DOJ

or Congress would have approved diverting funds from ongoing law enforcement priorities, simply

to prosecute Stone for lying to Congress in the absence of both a referral from Congress and an

underlying election crime. Because DOJ improperly used the permanent indefinite appropriation,

it never had to choose. It also allowed DOJ to dodge a potential fight with Congress. In sum, access

to the permanent indefinite appropriation allowed DOJ and the Special Counsel to avoid the

opportunity cost of pursuing Mr. Stone which ordinarily would have served as an important check

on prosecutorial discretion.



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       The government also claims no prejudice because “the key steps in this case . . . have been

. . . undertaken in consultation with other government personnel who were not paid from the

appropriation now at issue.” Doc. 99 at 26. So having spent pages urging that Mr. Mueller was

functionally independent and operated outside the structure of the Department, the government

suddenly reverses course and claims the Stone prosecution was a joint venture with the

Department.

       It is doubtful that many individuals who played a major investigative role were not paid

from the permanent appropriation, since the government admits that “the Special Counsel’s Office

reimbursed salaries of personnel detailed from other offices.” Doc. 99 at 23, n.16.

       Moreover, although DOJ leadership may have approved it, it was Mr. Mueller’s decision

to charge Stone in the first instance. Mueller’s team convened the grand jury, presented the

evidence and drafted the indictment. Certainly, FBI agents and others may have played a

supporting role, but Mueller’s team, improperly funded by the permanent appropriation, led the

effort. That is exactly why Special Counsel Mueller, rather than someone from DOJ leadership,

signed the indictment.

               3. Dismissal is Warranted Because the Lack of an Appropriation Vitiates the
                  Authority

       The government contends that dismissal is not warranted because Mr. Mueller was “fully

authorized to conduct the investigation.” Doc. 99 at 25. But an appropriations defect can vitiate

an official’s authority. For example, in Sam Gray Enterprises v. United States, a contractor sued

the government for breach of a lease agreement. 43 Fed. Cl. 596 (1999), aff’d sub nom. Sam Gray

Enterprises v. United States, 250 F.3d 755 (Fed. Cir. 2000). The Federal Circuit found that the

contracting officer had no authority to agree to the lease, because there was no appropriation to

cover the five-year lease term. “Without such an appropriation, there can be no contracting

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authority for anyone, even a contracting officer, to bind the government to any contract.” Sam

Gray Enterprises, 250 F.3d at 755.

       Like the contracting officer, Mr. Mueller was duly appointed, but the unavailability of an

appropriation vitiated his authority to act. DOJ claims there were other funding sources that could

have been used, and so an appropriation was available. But the fact is other funds were not used.

Had DOJ told Congress that the special counsel investigation would be funded out of annual

appropriations, such as the General Legal Activities account, it would have been subject to

significant oversight demands. The permanent indefinite appropriation allowed DOJ to sidestep

oversight, avoiding the restraints that Congress felt was needed when it let the Independent

Counsel statute lapse.

               4. At a Minimum, a Temporary Injunction is Necessary to Address the Harm

       The government insists “Stone also cannot use a forward looking injunction to remedy

what he alleges was a past misuse of an appropriation. Injunctive remedies ‘look[] to the future’

and ordinarily are used to prevent future harm.” Doc. 99 at 29. But there is future harm here – a

prosecution – and it is directly linked to the past misuse of funds. Money was drawn from the

Treasury without authorization. In so doing, DOJ robbed Stone of a recognized and important

shield for defendants against overzealous prosecution.

       Even so, the government argues that “appropriations laws establish the appropriate means

to remedy and deter such errors,” in particular, reports to the President, administrative actions

against the responsible officials and criminal penalties. Doc. 99 at 29. The government is half right.

These provisions “deter” errors. But none of them do anything to “remedy” the wrong here. The

resource constraints that DOJ evaded were specifically designed to protect defendants from

overzealous prosecutions. The congressional committee to which Mr. Stone allegedly made false



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statements has not sought his prosecution. Doc. 93. He is charged with a process crime produced

by an investigation that uncovered no underlying election crime. This is precisely the sort of

marginal case that, in the presence of meaningful budget constraints, the special counsel might not

have pursued.

       This court must fashion an equitable remedy. At a minimum, a preliminary injunction until

DOJ secures appropriated funds from Congress to cover the cost of the Mueller investigation. This

would force the government to cure the taint of the prior error, which is only fair because that error

goes to the heart of whether the defendant would ever have actually been prosecuted.

       The government claims that a court-fashioned remedy is unwarranted based on an incorrect

analogy to evidence exclusion. As the government acknowledges, evidence exclusion is designed

not to rectify, but to deter misconduct, and should be employed only when the error was

sufficiently deliberate and culpable to warrant it. By contrast, the objective here is not to punish

the government, but to guarantee fairness to the defendant. The level of culpability in the

government is irrelevant to Mr. Stone’s objection that his prosecution might well never have made

it this far if prosecutors had not circumvented the ordinary resource constraints.

       The better analogy then is to the standard for seeking a stay. “A district court may grant a

stay…upon a showing by the application (1) of a likelihood of success on the merits; (2) that it

will be irreparably harmed if a stay is not granted; (3) that a stay will not injure any other parties

to the lawsuit; and (4) that the stay furthers the public interest.” United States v. Judicial Watch,

Inc., 241 F.Supp.2d 15 (D.D.C. 2003). By all these metrics Mr. Stone is entitled to a stay. The

improper funding claim is strongly rooted in the legislative history and consistent with the plain

text of the statute. Further prosecution will drain Mr. Stone’s resources and damage his reputation.

By contrast, the harm to the government from a preliminary injunction is merely delay. And, since



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the government insists that the Mueller investigation would easily have been funded from other

sources, the delay in securing that funding should be brief. Finally, the Separation of Powers

principles at issue here are “fundamental” to our democracy. See McIntosh, 833 F.3d 1163.

               5. The Taint Survives Transfer of the Prosecution to the D.C. U.S.
                  Attorney’s Office

       The government argues that transfer of this case to the U.S. Attorney’s Office cures any

prior funding defect. It cites four cases holding that “where improperly appointed officers have

conducted proceedings, validly appointed officers may continue with the work and the prior error

does not ‘taint’ the later proceedings.” Doc. 99 at 30.

       Three of the cases dealt with Appointments Clause defects concerning several agency

heads and a rate judge. 11 The fourth involved appointment of congressional officials to agency

positions in violation of the Separation of Powers. 12

       A defect in the appointment of a senior official does not alter routine enforcement activity

by career staff. Here it is not just Special Counsel Mueller that is in question, but his entire

apparatus. The whole investigation was improperly funded from start to finish, along with every

intervening decision and employee.

       Furthermore, none of those four precedents concerned the violation of a Constitutional

provision that, if respected, might have prevented the enforcement proceeding from ever

commencing. For example, requiring that the head of the Office of Thrift Supervision be Senate

confirmed is not a method of ensuring ongoing oversight of that individual’s enforcement

activities. By contrast, resource limitations on prosecutors are specifically designed to force them



       11
          Intercollegiate Broad Sys., Inc. v. Copyright Royalty Bd., 796 F.3d 111 (D.C. Cir. 2005),
Doolin Sec. Sav. Bank v. Office of Thrift Supervision, 139 F.3d 203 (D.C. Cir. 1998), and Andrade
v. Regnery, 824 F.2d 1253 (D.C. Cir. 1987).
       12
           Federal Election Comm’n v. Legi-Tech, Inc., 75 F.3d 704 (D.C. Cir. 1996).
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to prioritize and deter roving investigations. By misusing the permanent indefinite appropriation,

DOJ was able to avoid making any tough choices. Accordingly, it is only fair that the taint transfer.

II. The Constitutional Arguments: Appointments Clause, Executive Power, Separation of
    Powers, Take Care Clause, and Vesting Clause

   Stone’s Motion to Dismiss (Doc. 69) asserted various challenges to the appointment and

actions by the Special Counsel. We take issue with the government’s dismissal of the arguments

and briefly respond in order to narrow the issues.

       A. The Appointments Clause

       In re Grand Jury Investigation, 916 F.3d 1047, 1051 (D.C. Cir. 2019), rejected the

challenge to the Special Counsel’s appointment, which was made on the following grounds:

                     (1) The Special Counsel is a principal officer who was not appointed by the
                     President with the advice and consent of the Senate; (2) Congress did not “by
                     law” authorize the Special Counsel’s appointment; and (3) the Special
                     Counsel was not appointed by a “Head of Department” because the Attorney
                     General’s recusal from the subject matter of the Special Counsel’s
                     investigation did not make the Deputy Attorney General the Acting Attorney
                     General.

       We raised those issues, but we do not reargue them here given the binding precedent in this

Circuit. We preserve the issue for further review, if necessary.

       B. The Lack of a Congressional Referral/Separation of Powers

       Congress investigates and legislates. The Executive Branch has prosecution powers. A

Special Prosecution’s intrusion into the Legislative Branch’s activities, absent a referral from

Congress, intrudes on the Legislative Branch’s duties. The Special Counsel, in this particular case

was an uninvited guest whose actions disrupted an equal branch of government. We adhere to the

contentions make in the Motion to Dismiss. Doc. 69.




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       C. The Take Care Clause/Vesting Clause

       We stand on Justice Scalia’s dissent in Morrison v. Olson, 487 U.S. 654, 724 n.4 (Scalia,

J. dissenting), in which he states: “What I do assert – and what the Constitution seems plainly to

prescribe – is that the President must have control over all exercises of the executive power.” “The

executive power shall be vested in a President o the United States.” Art. II, § 1, cl. 1. The Special

Counsel’s appointment trespassed upon this guarantee.

                                             CONCLUSION

       The indictment should be dismissed or enjoined by the reasons advanced here and in the

Motion to Dismiss. Doc. 69.

                                                   Respectfully submitted,

                                                 By: /s/_______________


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 21, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                               ___/s/ Chandler Routman _______________
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